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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 X CORP.,
                    Plaintiff,

             v.
                                                    Civil Action No. 4:23-cv-01175-O
 MEDIA MATTERS FOR AMERICA,
 et al.,
            Defendants.



 MOTION TO COMPEL CORRECTED CERTIFICATE OF INTERESTED PERSONS

       For the reasons stated in the accompanying memorandum in support, Defendants move the

Court to compel Plaintiff X Corp. to file a corrected Rule 3.1(c) certificate of interested persons

listing Tesla, Inc., its shareholders, and any other persons or entities having a financial interest in

this matter that X Corp. has not previously disclosed.




Dated: June 17, 2024.

Respectfully submitted,
/s/ Andrew LeGrand
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GIBSON, DUNN & CRUTCHER LLP                 ELIAS LAW GROUP LLP
Andrew LeGrand (TX 24070132)                Abha Khanna* (WA 42612)
2001 Ross Avenue, Suite 2100                1700 Seventh Avenue, Suite 2100
Dallas, TX 75201                            Seattle, WA 98101
T: (214) 698-3100                           T: (206) 656-0177
F: (214) 571-2960                           F: (206) 656-0180
alegrand@gibsondunn.com                     akhanna@elias.law

Theodore J. Boutrous, Jr.* (CA 132099)      Aria C. Branch* (DC 1014541)
333 South Grand Avenue                      Christopher D. Dodge* (DC 90011587)
Los Angeles, CA 90071                       Jacob D. Shelly* (DC 90010127)
T: (213) 229-7000                           Samuel T. Ward-Packard** (DC 9005484)
F: (213) 229-7520                           250 Massachusetts Avenue NW, Suite 400
tboutrous@gibsondunn.com                    Washington, DC 20001
                                            T: (202) 968-4490
Amer S. Ahmed* (NY 4382040)                 F: (202) 986-4498
200 Park Avenue                             abranch@elias.law
New York, New York 10166                    cdodge@elias.law
T: (212) 351-4000                           jshelly@elias.law
F: (212) 351-4035                           swardpackard@elias.law
aahmed@gibsondunn.com
                                            * Admitted pro hac vice
                                            ** Pro hac vice application forthcoming

  Counsel for Defendants Media Matters for America, Angelo Carusone, and Eric Hananoki




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                               CERTIFICATE OF CONFERRAL

        Defendants’ counsel requested that X amend its deficient certificate during a telephonic

conference on June 13, 2024. Counsel for X indicated that X would evaluate the issue. Counsel

for X then indicated by email on June 17 that X opposes this motion, and that while it may amend

its certificate to provide slightly more detail, it would not list Tesla as an interested party.

                                                        /s/ Andrew LeGrand
                                                        Andrew LeGrand


                                  CERTIFICATE OF SERVICE

        On June 17, 2024, I electronically submitted the foregoing document with the clerk of court

for the U.S. District Court, Northern District of Texas, using the electronic case filing system of

the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                        /s/ Andrew LeGrand
                                                        Andrew LeGrand




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